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Broadcast Message: SEVIS Notice – Policy Regarding Termination of Records

To: All SEVP Personnel

Date: April 26, 2025



General Information

The Student and Exchange Visitor Program (SEVP) manages and tracks nonimmigrants in the F,
M, and J categories. To eliminate vulnerabilities related to the nonimmigrant visa program,
Congress provided broad statutory authority under 8 U.S.C. § 1372 for the Government “to
develop and conduct a program to collect” information regarding nonimmigrant students and
exchange visitors and to “establish an electronic means to monitor and verify” certain related
information, which is the system referred to as the Student and Exchange Visitor Information
System (SEVIS). Inherent in that authority is SEVP’s ability to update and maintain the
information in SEVIS and, as such, to terminate SEVIS records, as needed, to carry out the
purposes of the program.

A terminated record in SEVIS could indicate that the nonimmigrant no longer maintains F or M
status. Designated school oﬃcials (DSOs) mostly terminate F-1/M-1 students and/or F-2/M-2
dependents who do not maintain their status. However, termination does not always result in
an adverse impact on the student. DSOs and SEVP can terminate records for several normal,
administrative reasons.

Additionally, SEVP can terminate records for a variety of reasons, including, but not limited to
the following reasons:

           o   Exceeded Unemployment Time
           o   Failure to Comply with I-515A
           o   Failure to Repay the I-901 Fee Chargeback
           o   Failure to Report While on OPT
           o   No Show
           o   School Withdrawn
           o   Violation of Change of Status Requirements
           o   Change of Status Approved
           o   Evidence of a Failure to Comply with the Terms of Nonimmigrant Status Exists
           o   U.S. Department of State Visa Revocation (Eﬀective Immediately)

Failure to Comply with Terms of Nonimmigrant Status




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When SEVP has objective evidence that a nonimmigrant visa holder is no longer complying with
the terms of their nonimmigrant status for any reason, then the SEVIS record may be
terminated on that basis. Information should be entered into in SEVIS that identiﬁes the failure
to comply. In its discretion, ICE may conduct further investigation or initiate removal
proceedings pursuant to INA § 237(a)(1)(C)(i) based on evidence that a nonimmigrant student is
not complying with the terms of their nonimmigrant status.

Visa Revocations

Pursuant to INA § 221(i), the U.S. Department of State (State) may at any time, in its discretion,
revoke an alien’s visa. State can consider derogatory information provided by ICE and other U.S.
law enforcement agencies in its assessment of whether visa revocation is appropriate for an
alien. When State revokes an alien’s visa with immediate eﬀect, ICE should take steps to initiate
removal proceedings.

If State revokes a nonimmigrant visa eﬀective immediately, SEVP may terminate the
nonimmigrant’s SEVIS record based on the visa revocation with immediate eﬀect, as such a
revocation can serve as a basis of removability under INA § 237(a)(1)(B). SEVP should not,
however, terminate a nonimmigrant’s SEVIS record on this basis until it has conﬁrmed that State
has revoked the visa.

For additional information about SEVIS record terminations, please contact the SEVP Response
Center (SRC) via phone at 703-603-3400 or 1-800-892-4829 or via email at SEVP@ice.dhs.gov.
The SRC is open Monday through Friday, 8 a.m. to 6 p.m. ET, except for federal holidays.

Disclaimer

This Broadcast Message is not a substitute for applicable legal requirements, nor is it itself a rule
or a ﬁnal action by SEVP. It is not intended to, does not, and may not be relied upon to create
any right or beneﬁt, substantive or procedural, enforceable at law by any party in any
administrative, civil, or criminal matter.




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